Case: 1:19-cv-06859 Document #: 14-2 Filed: 01/21/20 Page 1 of 1 PagelD #:49

 

 

 

 

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Ege Pees 2818 U.S. EQUAL EMPLOYMENT OPPORTUNITY Commission
a DisMISSAL AND NOTICE OF RIGHTS

io Jen Bukowesd From: Chicago District Office

77 8. Leamington 220 S$, Dearborn

Burbank, HL 604.59 Bulte 1626

Chicago, IL 66604
| On behalf of person(s) eggrieved whose identity la =
CONFIDENTIAL (23 CER §1001.7(6))
EEOC Caerge No, ‘ EEOC Representative Teisphone Ivo.
Gregory T. Mucha,

AD 2018-03628 Inveatiostor (312) 872-6686

 

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The fecte allaged in the charge fail to state a claim under eny of the statutes enforced by the EEOC.

Your allegatons did not involve a cleabi lity as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otharwise covered by the statutes.

Your chame was not timely filed with EEOC; In other words, you waited too long after the date(s) cf the alleged
Clscriminaton to Tile your cherge

AOU

The EEOC tssues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
Information obisines setablishss Violations of the statutes. This does not certify that the respondent js in compliance with
the statutes. No finding is mece as to any otner issues mat might be construed as having been ralsed by this charge.

Tha EEOC has adopted tha findings of the stcte or local fair employment practices agency that Investigated this charge.

LI 1

Other (briefly state)

- NOTICE OF SUIT RIGHTS -

(See the edaitionsi informetion ettached to thls form.)

Title Vil, the Americans with Disabilities Act, the Genatle Information Nondlscriminatlon Act, or the Age
Discrimination in Employment Act: Tnis will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lewsuil against the respencent(s) uncer federal law based on this cherge In federal or state court. Your
lowsult must be flied WeTHIN 8° DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (Tne time limit for fling suit based on a claim under state lew may be diferent.)

 

 

 

Equal Pay Act (EPA): EPA suts must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years
before you file suit may not be collectibie.

 

L bshaif of the Commission
A

Encloavres(s) a Jutlanne Bowman, (Data Mailed)
District Director

a CHICAGO MEAT AUTHORITY, INC.
clo Heborz2h H. Shere
Couistioa Deekins
155 N. Wacker Drive, Suite 4300
Chicago, iL Wso8

EXHIBIT B

 
